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UNITED STATES BANKRUPTCY COURT                                        SOUTHERN DISTRICT OF TEXAS


                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

          Division                Houston                 Main Case Number           22-33553
          Debtor            In Re:                         Alexander E. Jones

This lawyer, who is admitted to the State Bar of                 New York                   :

                       Name                             David M. Zensky
                       Firm                             Akin Gump Strauss Hauer & Feld LLP
                                                        One Bryant Park, 41st Floor
                       Street
                                                        New York, NY 10036
                 City & Zip Code                        (212) 872-1000
                    Telephone                           NY 2176691
             Licensed: State & Number

Seeks to appear as the attorney for this party:

                   The Sandy Hook Families,** creditors and parties-in-interest

 Dated:   12/6/2022                       Signed: /s/ David M. Zensky




 COURT USE ONLY: The applicant’s state bar reports their status as:                             .



 Dated:                                   Signed:
                                                          Deputy Clerk



                                                     Order


                                     This lawyer is admitted pro hac vice.

Dated:
                                                           United States Bankruptcy Judge

**Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine
(collectively, the “Texas Plaintiffs”) and David Wheeler, Francine Wheeler, Jacqueline Barden,
Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi,
Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William Sherlach, and Robert Parker
(collectively, the “Connecticut Plaintiffs”, together with the Texas Plaintiffs, the “Sandy Hook
Families”).
